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                      UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA,                )
                                          )
                                          )
 V.                                       )    CRIMINAL NO. 2:19-CR-123-DBH
                                          )
 DAMON FAGAN,                             )
                                          )
                         DEFENDANT        )


                            PROCEDURAL ORDER


      The defendant has moved (1) to reopen his suppression hearing and my

February 11, 2020, denial of his suppression motion; (2) to allow supplemental

information on the motion; and (3) for discovery. (ECF Nos. 118-20.) He also

asks for a hearing.

      The impetus for his motions is information that came to light later in a

different case, namely, recorded statements by the arresting trooper as to his

practice in stopping vehicles, which the defendant contends show racial

profiling. The government consents to reopening the suppression hearing and

allowing further cross-examination of the trooper. Gov’t’s Resp. to Def.’s Mot. to

Reopen Suppression Hr’g at 2 (ECF No. 126). In response to a request for any

complaints against the trooper “based on accusations of racial bias, the use of

racial slurs, etc.,” the government confirms its ongoing obligations under Brady

and Giglio to furnish such material. Gov’t’s Opp’n to Def.’s Mot. for Disc. at 5

(ECF No. 125). However, it resists other requested discovery.
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       I GRANT the uncontested motion to reopen the suppression hearing. The

Clerk’s Office shall schedule a testimonial hearing on the motion to suppress as

soon as the pandemic permits it to occur safely. I will allow oral argument on

the motion for discovery by either telephone or videoconference, but first I

request the government to inform the court and opposing counsel by

December 23, 2020, as to the volume of material covered by requested items 1

and 2 of the motion1 and whether privacy interests of third parties are

implicated.

       SO ORDERED.

       DATED THIS 9TH DAY OF DECEMBER, 2020

                                                   /S/D. BROCK HORNBY
                                                   D. BROCK HORNBY
                                                   UNITED STATES DISTRICT JUDGE




1All communications between the trooper and dispatch from 9 p.m. until midnight on January 6,
2019 (the stop occurred around 11 p.m.), and all electronic requests from the trooper regarding
vehicles operating on the interstate during the same time period.

                                                                                             2
